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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                            CRIMINAL ACTION

VERSUS                                              NO. 01-282

JOHNNY DAVIS                                        SECTION “R”


                             ORDER AND REASONS

     Before the Court is petitioner’s motion to reconsider this

Court’s denial of his petition for habeas corpus.              For the

reasons set forth below, petitioner’s motion for reconsideration

is DENIED.


I. BACKGROUND

     Petitioner Johnny Davis filed his federal habeas corpus

petition on September 18, 2006.       In his petition, he claimed

that: (1) appellate counsel was ineffective for failing to raise

an argument based on United States v. Booker, 543 U.S. 220

(2005), in a petition for rehearing en banc or petition for writ

of certiorari; (2) trial counsel failed to present essential

witnesses in Davis’ defense; (3) trial counsel failed to object

to several errors; (4) appellate counsel “failed to raise

claims”; (5) certain wiretaps violated Davis’ constitutional

rights; and (6) trial counsel failed to object to “several PSI

issues.”    (R. Doc. 965).    This Court denied the petition on July

30, 2007.    On August 20, 2007, petitioner filed a motion to
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reconsider the denial of his habeas corpus petition pursuant to

Rule 59 of the Federal Rules of Civil Procedure.


II.   DISCUSSION

      A district court has considerable discretion to grant or to

deny a motion for reconsideration.        See Edward H. Bohlin Co. v.

Banning Co., 6 F.3d 350, 355 (5th Cir. 1993).            A court’s

reconsideration of an earlier order is an extraordinary remedy,

which should be granted sparingly.        See Fields v. Pool Offshore,

Inc., No. Civ. A. 97-3170, 1998 WL 43217, at *2 (E.D. La. Feb. 3,

1998), aff’d, 182 F.3d 353 (5th Cir. 1999); Bardwell v. George G.

Sharp, Inc., Nos. Civ. A. 93-3590, 93-3591, 1995 WL 517120, at *1

(E.D. La. Aug. 30, 1995).       The Court must “strike the proper

balance” between the need for finality and “the need to render

just decisions on the basis of all the facts.”            Edward H. Bohlin

Co., 6 F.3d at 355.      To succeed on a motion for reconsideration,

a party must “‘clearly establish either a manifest error of law

or fact or must present newly discovered evidence.’”              Ross v.

Marshall, 426 F.3d 745, 763 (5th Cir. 2005) (quoting Pioneer

Natural Res. USA, Inc. v. Paper, Allied Indus., Chem. & Energy

Workers Int’l Union Local 4-487, 328 F.3d 818, 820 (5th Cir.

2003)).

      Movant must satisfy at least one of the above criteria to

prevail.    Here, petitioner asks the Court to reconsider its



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dismissal of his claims based on the ineffective assistance

arguments already set forth, and rejected, in his original habeas

petition.   (R. Doc. 965).    Petitioner therefore has failed to

satisfy any of the above criteria.      The Court denies petitioner’s

motion.



                                   29th day of August, 2007.
      New Orleans, Louisiana, this ___


                        _____________________
                            SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




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